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OPERATING AGREEMENT
OF
ABSOLUTE MEDICAL SYSTEMS, LLC
A Florida limited liability company

This Operating Agreement (this “Agreement’”), is effective as of November 30, 2017 (the
“Effective Date”) in accordance with the Florida Revised Limited Liability Company Act (the
“Florida Act”) and subject to the Articles of Organization filed with the Florida Department of State,
by and among the individuals listed on Exhibit A attached hereto and incorporated by this reference
(the “Members”), who make the following Agreement regarding the conduct of the business and
affairs of Absolute Medical Systems, LLC, a Florida limited liability company (the “Company”):

ARTICLE 1
DEFINITIONS

Unless otherwise defined herein, capitalized terms used in this Agreement shall have the
meanings assigned to them in Exhibit B attached hereto and incorporated by this reference.

ARTICLE 2
FORMATION, TERM, AND PURPOSE OF COMPANY

2.1 Formation and Term. The Company was formed as a Florida limited liability company
on December 1, 2017. The term of the Company shall continue until the Company is dissolved
and its affairs wound up in accordance with the provisions of this Agreement. The Company
and the Members hereby forever discharge the organizer, and the organizer shall be
indemnified by the Company and the Members from and against, any expense or liability
incurred by the organizer by reason of having been the organizer of the Company.

2.2 Name. The name of the Company is Absolute Medical Systems.

2.3 Principal Place of Business. The initial principal place of business of the Company is
8901 Lee Vista Boulevard, Suite 3003, Orlando, Florida 32829. The Company may locate its
place of business at any other place or places as the Manager may deem advisable.

2.4 Registered Office and Registered Agent. The Company’s initial registered office shall be
at 8901 Lee Vista Boulevard, Suite 3003, Orlando Florida 32829, Gregory Soufleris shall serve
as the registered agent of the Company. The registered office and registered agent may be
changed from time to time pursuant to the terms of the Florida Act as Manager may deem
advisable.

25 Business of Company. The Company shall engage in any lawful business or activity
permitted by the Florida Act. Subject to the terms of this Agreement, the Company shall have
all powers of a limited liability company under the Florida Act.

ARTICLE 3
MANAGEMENT AND CONTROL OF BUSINESS

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ARTICLE 3
MANAGEMENT AND CONTROL OF BUSINESS

3.1 Management Rights. The right to exercise the powers of the Company and to manage the
business and affairs of the Company is vested entirely in Manager. Except for situations in which the
approval of the Members is expressly required pursuant to a resolution or agreement by the Members,
this Operating Agreement or by non-waivable provisions of applicable law, Manager shall have full
and complete authority, power and discretion to manage and control the business, affairs and property
of the Company, to make all decisions regarding those matters and to perform any and all other acts
or activities customary or incident to the management of the Company’s business. The Manager
shall have the authority to delegate powers and duties to officers of the Company pursuant to Section
3.12. The Members hereby delegate to Manager the power, on behalf of the Company, to do all
things necessary or convenient to carry out the business and affairs of the Company, including, but
not limited to, the following matters:

(a) To acquire property from any Person. A Member’s direct or indirect affiliation or
connection with any such Person shall not prohibit the Company from dealing with that Person.

(b) To act and make all decisions with respect to the acquisition, development, management,
leasing, financing, sale, exchange, or disposition of any real or personal property owned by the Company.

(c) To hold and own any Company property in the name of the Company.

(d) To sell, convey, assign, mortgage, or lease, any real estate and any personal property
owned by the Company’s business.

(e) To purchase liability and other insurance to protect the Company’s property and business.

(f) To borrow money for and on behalf of the Company and to pledge property of the
Company as collateral for such loans.

(g) To dispose of property of the Company in the ordinary course of the Company’s business.

(h) To invest any Company funds temporarily (by way of example but not limitation) FDIC
insured deposits, money market funds, or short-term (not greater than one year) governmental securities
or obligations.

(i) To execute, or to authorize another Member, officer or agent to execute, on behalf of the
Company all instruments and documents, including, without limitation, checks, drafts, notes and other
negotiable instruments, mortgages Or deeds of trust, security agreements, financing statements, documents
providing for the acquisition, mortgage or disposition of the Company’s property, assignments, bills of
sale, leases, partnership agreements, operating agreements (or limited liability company agreements) of
other limited liability companies and any other instruments or documents necessary OF incident to the
business of the Company.

(j) To employ accountants, legal counsel, managing agents or other experts to perform
services for the Company and to compensate them from Company funds.

(k) To hire, contract with, supervise and terminate on reasonable notice any and all
contractors, employees, agents, and representatives, including, but not limited to, any subsidiaries or
affiliates of Manager, retained to perform development and management activities with respect to real
property owned by the Company.

(1) To do and perform all other acts as may be necessary or appropriate to the conduct of the
Company’s business in the ordinary course.

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3.2 Election of Managers. The initial Manager of the Company shall be Gregory Soufleris. The
number of Manager(s) shall be fixed from time to time by the Members. Each Manager shall hold
office until such Manager’s successor or successors are appointed by the Members or until such
Manager’s earlier death, dissolution, resignation, Disability or removal pursuant to this Agreement.
The initial number of Manager(s) shall be one (1). Managers may be designated by a majority vote of
the Members.

3.3. Removal and Resignation of Manager. At any meeting of Members called expressly for the
purpose, a Manager may be removed for any reason, with or without cause, on a resolution adopted

by a majority vote of the Members. Any Manager may resign at any time upon written notice to the
Company.

3.4 Action By Managers. If there is more than one (1) Manager, an act of the Managers is
effective if a majority of Managers vote to approve the act at a meeting at which a quorum of
Managers is present.

3.5 Quorum of Managers. If there is more than one (1) Manager, at all meetings of the
Managers, a majority of Managers serving at the time of the meeting must be present to constitute a
quorum for the transaction of business.

3.6 Meetings of Managers. If there is more than one (1) Manager, meetings of the Managers
may be called by or at the request of: (i) the Chairman of Managers (ii) at least one-half of the total
number of Managers or (iii) the Members holding a Majority Interest. The persons authorized to call
meetings of the Managers may fix any place, either within or without the State of Florida, as the
place for holding any special meeting of Managers called by them.

Notice of Meetings. Notice of any meeting of Managers shall be given at least five (5)
days prior thereto by written notice to each Manager at his or her address. All notices hereunder
must be in writing and shall be given in a manner permitted by Section 15.11. Notice of any
meetings of Managers must specify the purpose of the meeting or the business to be transacted at

the meeting, in addition to the place, date, and time of the meeting.

Participation by Video or Telephone Conference. Managers, or any committee designated by
Managers, may participate in a meeting of the Managers, or committee thereof, by means of
conference telephone or similar communications equipment as long as all persons participating in
the meeting can speak with and hear each other. Participation by a Manager pursuant to this

Paragraph shall constitute presence in person at such meeting.

Waiver of Notice. Attendance of any meeting in person or pursuant to the preceding
paragraph shall constitute waiver of the notice requirements set forth in this Section 3.6.

3.7. Action Without Meeting. Any action required or permitted by law or by this Agreement to be
taken by Manager may be taken by written consent, without a meeting, if such consent Is executed by
not less than the number of Managers required to approve such action. Notice of such action without a
meeting by less than unanimous written consent shall be given promptly to those Managers of record
on the date when the written consent is first executed who did not participate in taking the action.

3.8 Compensation of Managers. Members have authority to establish reasonable compensation
of all Managers for services to the Company.

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3.9 Duties of Managers. Except as expressly set forth herein or otherwise required by the Florida
Act, any Manager, acting solely in his or her capacity as a Manager, shall not have any duties or
liabilities relating thereto, to the Company or Members. Manager owes no duties to future or present
creditors for any decisions when exercising its reasonable business judgment.

3.10 Execution of Documents. Manager and any Member or officer authorized by Manager, shall
have the authority to execute documents and instruments for the acquisition, mortgage, OF disposal of
property on behalf of the Company and to conduct the day-to-day activities of the Company.

3.11. Committees. Manager may, by the unanimous resolution of Manager, designate an executive
committee or other committees, any such committee to consist of one or more Managers of the
Company or their representatives, and, to the extent provided in said resolution or resolutions, shall
have and may exercise all of the authority of Managers in the management of the business and affairs
of the Company. Each such committee shall keep regular minutes of its proceedings and the same
shall be recorded in the minute book of the Company.

3.12 Officers. Manager may appoint officers of the Company, if deemed necessary by Manager,
including but not limited to a chairperson, president, vice president, secretary, and chief financial
officer. The officers shall serve at the pleasure of Manager, subject to all rights, if any, of an officer
under any contract of employment. The officers shall exercise such powers and perform such duties
as determined from time to time by Manager; provided, that Manager cannot delegate any powers or
authority to officers that are not given to Manager in this Agreement or the Act. Any two offices
may be held by the same person. The salary and duties and responsibilities of each officer, if any,
shall be set by Manager. Each officer shall serve for the term of office for which he or she is
appointed and until his or her successor has been appointed and has qualified, or his or her earlier
death, resignation, or removal by Manager. Each officer, to the extent of the power and authority
delegated to such officer by Manager or as otherwise set forth herein, is an agent of the Company for
the purpose of its business and affairs. The act of any officer, including, but not limited to, the
execution in the name of the Company of any instrument for apparently carrying on in the usual way
the business and affairs of the Company, shall bind the Company, unless the officer so acting has, in
fact, no authority to act for the Company in the particular matter. If any officer takes any action or
binds the Company in violation of this Section 3.12, or any other provision of this Agreement, such
officer shall be solely responsible for any loss and expense incurred by the Company as a result of the
unauthorized action and shall indemnify and hold the Company, Managers and Members harmless

with respect to the loss or expense.

ARTICLE 4
MEMBERSHIP

4.1 Members. The names and addresses of the Members are set forth on Exhibit A.

 

4.2 Approvals of Members. Except as otherwise expressly provided in this Agreement, the
Members shall have no voting or approval rights, and all other actions may be taken by Manager
without any further consent or approval of Members.

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43 Actions Requiring the Consent of the Voting Members. Without the approval of Members
holding a Majority Interest, neither Manager nor any officer shall have authority to do or cause or
commit the Company to do any of the following:

4.4
(a) Any act in contravention of this Agreement,

(b) Merge or consolidate the Company with or into any other entity or change or reorganize
the Company into any other legal form;

(c) Sell substantially all of the Company’s assets in one transaction or a series of transactions;
(d) Make any distribution to a Member except as otherwise provided in this Agreement;

(e) File a voluntary petition in bankruptcy or for reorganization or for adoption of an
arrangement under any state or federal bankruptcy laws;

(f) Execute or deliver any general assignment for the benefit of creditors of the Company or
permit the entry of an order of relief against the Company under any state or federal bankruptcy laws;

(g) Call for additional Capital Contributions; or
(h) Dissolve the Company under Article 12.

4.5 Manner of Acting. Except as otherwise specified herein, the affirmative vote of Members
holding a Majority Interest shall be the act of Members. The voting rights of Members are to be
distributed in proportion to cach Member’s contribution to capital in the following manner: one vote
per Unit.

4.6 Removal and Resignation of Members. Members may be removed upon the occurrence of
Cessation Event as defined in Section 12.3 of this Agreement. Removal of a Member with or without
Cause, may be made on a resolution adopted by a Majority Interest. Any Member may resign at any
time upon written notice to the Company, in which case such Member shall be treated as a Member
being removed without Cause.

4.7. Quorum of Members At all meetings of the Members, a majority of Members serving at the
time of the meeting must be present to constitute a quorum to transact business.

48 Meetings of Members. Meetings of the Members may be called by or at the request of
Manager or Members holding a Majority Interest. The Person authorized to call meetings of the
Members may fix any place, either within or without the State of Florida, as the place for holding any
special meeting of the Members.

Notice of Meetings. Notice of any meeting of the Members shall be given by the Person
calling the meeting at least five (5) days previous thereto by written notice to each Member at his
or her address set forth in this Agreement. All notices hereunder must be in writing and shall be
given in a manner permitted by Section 15.11. Notice of any meetings of the Members must
specify the purpose of the meeting or the business to be transacted at the meeting, in addition to
the place, date, and time of the meeting. Only persons whose names are listed as Members in the
official records of the Company five (5) days before any meeting of the Members are entitled to
notice of or to vote at that meeting.

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Participation by Video or Telephone Conference. Members may participate in a meeting of
the Members by means of conference telephone or similar communications equipment as long as
all persons participating in the meeting can speak with and hear each other. Participation by a
Member pursuant to this paragraph shall constitute presence in person at such meeting.

Waiver of Notice. Attendance of any meeting in person or pursuant to the preceding
paragraph shall constitute waiver of the notice requirements set forth in this Section 4.7.

49 Action Without Meeting. Any action required or permitted to be taken by Members at a
meeting may be taken without a meeting if the action Is evidenced by one or more written consents
describing the action taken, signed by Members entitled to vote with respect to such action and
having the requisite Ownership Percentage required to approve such action. Any action taken under
this Section shall be effective when the Members required to approve such action have signed the
consent, unless the consent specifies a different effective date. Notice of such action without a
meeting by less than unanimous written consent shall be given promptly to those Members of record
on the date when the written consent is first executed who did not participate in taking the action.

4.10 Vote By Proxy. Members may vote either in person or by proxy. Proxies must be executed in
writing by Members so voting. A telegram, telex, cablegram, or similar transmission by the Member,

or a photographic, photostatic, facsimile, or similar reproduction of a writing executed by a Member
is deemed an execution in writing for purposes of this Section.

4.11. Duties of Members. Except as expressly set forth herein or otherwise required by the Florida
Act, no Member shall have any duties or obligations to the Company or any other Member solely by
reason of acting in his capacity as a Member.

4.12 No Liability for the Company Obligations. Except as otherwise provided under the Florida
Act, no Member will have any personal liability for any debts or losses of the Company solely by
reason of being a Member of the Company.

4.13 Limitation of Authority. Each Member, acting solely in his or her capacity as a Member, iS
not an agent of the Company and does not have any authority to act on behalf of the Company,
execute any instrument in connection with the carrying on of the Company’s business and affairs, or
otherwise bind the Company in any matter, unless expressly authorized to do so by Manager. If any
Member takes any action or binds the Company in violation of this Section, or any other provision of
this Agreement, such Member shall be solely responsible for any loss and expense incurred by the
Company as a result of the unauthorized action and shall indemnify and hold the Company,

Managers and the other Members harmless with respect to the loss or expense.

ARTICLE 5
INDEMNIFICATION OF MEMBERS AND MANAGERS

To the fullest extent permitted by the Florida Act, the Company shall indemnify each
Manager, Member and officer and make advances for expenses to each Manager, Member and officer
arising from any loss, cost, expense, damage, claim, or demand, in connection with the Company,
Manager’s, Member's or officer’s status as a Manager, Member or officer of the Company,
Manager’, Member’s or officer’s participation in the management, business and affairs of the
Company or such Manager’s, Member’s or officer’s activities on behalf of the Company, provided
that such Manager’s, Member’s or officer's actions were taken in good faith, in a manner Manager,

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Member or officer reasonably believed to be in or not opposed to the best interests of the Company,
did not involve a breach of fiduciary duty and were not otherwise in violation of any provision of this
Agreement. The standard of the fiduciary duty each Member and Manager owes to the Company and
to its Members are those of a partner to a partnership and to the partners of the partnership. A
Member’s or Manager’s standard of conduct owed to the Company and other Members and
Managers is to act in the highest good faith to the Members and Managers, and a Member or
Manager may not seek to obtain an advantage in the Company affairs by the slightest misconduct,
misrepresentation, concealment, threat, or adverse pressure of any kind.

ARTICLE 6
CONTRIBUTIONS TO THE COMPANY AND CAPITAL ACCOUNTS

6.1 Members’ Capital Contributions and Issuance of Units. Each Member shall contribute the
amount set forth next to such Member’s name on Exhibit A hereto as the Member’s initial Capital
Contribution (the “Initial Capital Contributions”) with any preferred Capital Contribution as reflected
on Exhibit A (“Preferred Capital Contribution”), which amount shall be reduced by Distributions in
accordance with Article 7 and shall be increased by additional Preferred Capital Contribution as
authorized by Manager; however, such additional Preferred Capital Contribution shall not change the
number of Units held by each Members or dilute the Member’s Ownership Percentage without the
written consent of the Majority in Interest. Each Member’s Capital Contributions and the number of
Units owned by each Member shall be reflected on the books and records of the Company. The
‘nitial issuance of Units and initial Capital Contributions will be reflected and set forth in Exhibit A.

 

6.2 Loans to Company. To the extent approved by Manager, any Member may make one or
more loans to the Company on such reasonable terms and conditions as may be approved by
Manager. Loans by a Member to the Company shall not be considered Capital Contributions and the
outstanding principal of which, as well as any accrued interest thereon, at ten percent (10%) per
annum, shall be paid prior to a Distributions to the Members by the Company pursuant to Article 7.

6.3. Capital Reserves. Manager shall cause the Company to initially maintain cash reserves in
such amounts and for such purposes as Manager deems appropriate and in the best interests of the
Company and its Members.

6.4 Capital Accounts. A separate Capital Account shall be maintained for each Member in
accordance with Section 1.704-1(b)(2)(G@v) of the Treasury Regulations.

6.5 Capital Account Treatment of Dispositions. If a Member acquires all or part of the
Membership Interest of another Member by Assignment, the Capital Account of the acquiring
Member shall be credited and the Capital Account of the disposing Member shall be debited in an
amount equal to that amount of the total Capital Account of the disposing Member which is
proportionate to the Membership Interest involved in the Assignment.

6.6 No Obligation to Restore Capital Account Deficit Balance. Except as required by law, a
Member shall not be required to restore a deficit balance in such Member’s Capital Account.

6.7 Interest On and Return of Capital Contributions. No Member shall be entitled to interest
on such Member’s Capital Contributions or to a return of the Member’s Capital Contributions, except
as otherwise specifically provided for in this Agreement.

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6.8 Additional Members. From time to time, the Company may admit additional Members and
;ssue Units to such Members, on such terms and conditions as approved by a Majority Interest. Each
additional Member admitted to the Company must agree to be bound by the terms and conditions of
this Agreement. Unless otherwise expressly agreed to by the Members in writing, in the event that
additional Members are admitted to the Company, the Members’ Interests shall be diluted

proportionately.

ARTICLE 7
DISTRIBUTIONS TO MEMBERS

7.1. Distributions. The Company may distribute Available Cash to Members at such times and in
such amounts as Manager, in its sole and absolute discretion, determines to be appropriate. However,
any such distributions shall be paid in the following order:

(a) First, to Members in proportion to and to the extent of the principal and interest owed

to any Member and made pursuant to Section 6.2 (to be applied to first to interest and then to
principal) and to the extent not prohibited by any loan covenants included in loan agreements in

which the Company is a party;

(b) Second, to the holders of Preferred Capital Contribution, until all Preferred Capital
Contributions have been returned to the contributor, with interest on the outstanding Preferred Capital
Contribution Balance at ten percent (10%) per annum; and

(c) Third, the balance, if any, to the Members in accordance with each Members’
respective Ownership Percentage or put into reserve at Manager’s sole discretion.

72 Limitation Upon Distributions. No distribution shall be made to Members if, in the sole
discretion of Manager: (a) the Company would not be able to pay its debts as they become due in the
usual course of business, (b) the Company’s total assets would be less than the sum of its total
liabilities or (c) such distribution would otherwise constitute a violation of the Florida Act.

ARTICLE 8
ALLOCATIONS OF NET PROFITS AND NET LOSSES

8.1 Net Profits and Net Losses. After giving effect to any special allocations required by
Treasury Regulations, Net Profits and Net Losses shall be allocated to the Members for each Fiscal
Year or allocation period in such amounts and proportions as Manager reasonably determines to be
consistent with the economic terms of this Agreement, subject to the priority set forth in Article 7.
Notwithstanding the above, Net Profits and Losses shall be allocated: (a) first, to the Members with
outstanding Preferred Capital Contributions, made in proportion to each such Members percentage of
the total outstanding Preferred Capital Contributions, and then, (b) any remaining Net Profits and
Losses shall be allocated to all Members in proportion to their Ownership Percentage.

8.2 Determination by Manager. All matters concerning the computation of Capital Accounts,
the allocation of items of the Company income, gain, loss, deduction, and expense for all purposes of
this Agreement and the adoption of any accounting procedures not expressly provided for by the
terms of this Agreement shall be determined by Manager.

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ARTICLE 9
TAXES

9.1 Tax Elections. Manager shall have the right to determine the Company’s tax election for
United States federal income tax purposes (and state, local and foreign tax purposes when applicable)
at all times.

9.2 Tax Matters Partner. If required by the Code or regulations, one of the Members shall be
designated by Manager as the “Tax Matters Partner” of the Company.

93 Tax Returns. Manager shall cause the preparation and timely filing and notice of all tax
returns required to be filed by the Company pursuant to the Code and all other tax returns deemed
necessary and required in each jurisdiction in which the Company does business.

ARTICLE 10
CONFLICTS OF INTEREST

10.1 Other Business Ventures. Subject to the provisions of Article 5, each Member and Manager
of the Company may engage in or possess an interest in any other business venture regardless of
whether such other business venture is competitive with the business of the Company. Neither the
Company, Manager, nor the other Members shall have any right by virtue of this Agreement in and to
such permitted ventures or to the income or profits derived therefrom.

10.2 Transactions between the Company and Manager. Notwithstanding that it may constitute
a conflict of interest, Manager may, and may cause their Affiliates to, engage in any transaction
(including, without limitation, the purchase, sale, lease, or exchange of any property or the rendering
of any service, or the establishment of any salary, other compensation, or other terms of employment)
with the Company so long as such transaction is not expressly prohibited by this Agreement, and so
long as the terms and conditions of such transaction, on an overall basis, are fair and reasonable to the
Company and are at least as favorable to the Company as those that are generally available from
persons capable of similarly performing them and in similar transactions between parties operating at
arm’s length.

ARTICLE 11
TRANSFERABILITY

11.1 General Prohibition. Except as otherwise provided in this Agreement, no Member or
Economic Interest Owner may assign, sell, transfer, pledge, encumber, or in any way alienate
(collectively a “Transfer”), all or any part of his, her or its Interest. A Member may only Transfer all
or any part of his, her or its Interest pursuant to the provisions of Article 12 (a “Permitted Transfer”).

11.2 Limitations. Notwithstanding any other provisions of this Agreement, no proposed Transfer
of a Membership Interest, or any part thereof, will be permitted or effective:

(a) if such sale, assignment or transfer would cause a change to any tax election made by
the Company for United States federal income tax purposes (and state, local and foreign tax purposes
when applicable), unless waived in the sole and absolute discretion of Manager; or

(b) ‘f such transfer or assignment would violate any Federal or any state securities or
“blue sky” laws applicable to the Company or to the Interest to be transferred or assigned.

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11.3 Successors as to Economic Rights. Any Person receiving an Interest in the Company upon a
Transfer by a Member that is not a Permitted Transfer or that was not approved by the written
consent of a Majority Interest, shall be, at most, an Economic Interest Owner only and shall be
entitled only to the transferor’s Economic Interest to the extent assigned. Such Economic Interest
Owner shall not be entitled to vote on any question regarding the Company, and the Ownership
Percentage associated with the transferred Economic Interest shall not be considered to be
outstanding for voting purposes. A transferee shall succeed to the transferor’s Capital Contributions
and Capital Account to the extent related to the Economic Interest transferred, regardless of whether
such transferee becomes a Member.

ARTICLE 12
DISSOLUTION, CESSATION AND TERMINATION

12.1. Dissolution. The Company shall be dissolved only upon the occurrence of any of the
following events:

(a) by the affirmative vote of the Members holding a Majority Interest to dissolve;
(b) by judicial dissolution as contemplated under the Florida Act, or

(c) the sale of all of the Company’s assets and the collection of all proceeds therefrom.

12.2 Effect of Dissolution. Upon dissolution, the Company shall cease to carry on its business,
except as permitted by the Florida Act.

12.3 Cessation Event. A Member shall cease to be a Member solely upon the occurrence of any
one of the following events (“Cessation Event”):

(a) the Company’s purchase or redemption of a Member's Membership Interest;
(b) removal of the Member with or without Cause by a Majority Interest;
(c) the Member voluntarily withdraws from the Company, or

(d) the death or Disability of a Member.

Unless otherwise provided in this Agreement or approved by the non-withdrawing
Members, a Member who suffers or incurs a Cessation Event or whose status as a Member is
otherwise terminated (a “Withdrawing Member”): (a) must either surrender his, her or its Units to
the Company or transfer such Units to the Member or Members purchasing the Units, and (b)
shall be entitled to a return of all outstanding Preferred Capital Contribution, with any interest due
pursuant to Section 7.1. Any loans made to the Company by a Withdrawing Member shall be
repaid in accordance with the terms of the written agreement made with respect to the loan.

Any return of Preferred Capital Contributions and payment to a Withdrawing Member
with respect to a Cessation Event, if any are required pursuant to this Agreement, shall be made:
(a) by the Company if the a Majority Interest elects to have the Units surrendered to the
Company, or (b) by the Member holding a Majority Interest if the Majority Interest elects to
purchase the Units. At the sole discretion of the Member holding the Majority Interest, such
Member may agree with the other non-withdrawing Members to allocate the purchase of Units
and payment therefore, in such proportions as the purchasing Members agree upon. If the
Member holding a Majority Interest is the Withdrawing Member, the Member holding the next

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largest Ownership Percentage shall be treated as the Member holding the Majority Interest for
this Section 12.3. Notwithstanding the foregoing, nothing in this Section permits a removal under
Section 12.3(b) of the Member holding a Majority Interest by other Members.

If a Member is removed by a Majority Interest for Cause, the Withdrawing Member shall
not be entitled to receive the fair value of his, her or its Membership Interest, but shall receive the
return of any outstanding Preferred Capital Contribution as specified above. If a Member is
removed by a Majority Interest without Cause, the Withdrawing Member shall be entitled to
receive from the Company: (a) the fair value of his, her or its Membership Interest, determined as
the Company’s book value multiplied by the Withdrawing Member’s Ownership Percentage and
(b) the return of any outstanding Preferred Capital Contribution as specified above.

If a Member’s Interest is purchased or redeemed, a Member withdraws, or upon death or
Disability of a Member, such Member, or its estate as applicable, shall be entitled to: (a) the fair
value of his, her or its Membership Interest, determined as the Company’s book value multiplied
by the Withdrawing Member’s Ownership Percentage and (b) the return of any outstanding
Preferred Capital Contribution as specified above.

ARTICLE 13
BOOKS AND RECORDS

13.1 Accounting Period. The Company’s accounting period shall be the Fiscal Year.

13.2. Records and Reports. At the expense of the Company, Manager shall cause the Company to
maintain records and accounts of all operations and expenditures of the Company. The books and
records shall at all times be maintained at the principal office of the Company and shall be open to
the reasonable inspection and examination of the Members, or their duly authorized representatives
during reasonable business hours. The Company shall keep at its principal place of business the
following records:

(a) A current list of the full name and last known address of each Member and Manager;

(b) Copies of records to enable a Member to determine the relative voting rights, if
any, of the Members;

(c) A copy of the Articles of Organization of the Company and all amendments
thereto, together with executed copies of any written powers of attorney pursuant to which the
Articles of Organization and any amendments thereto have been executed;

(d) Copies of the Company’s federal, state, and local income tax returns and
reports, if any, for each year; and

(e) Copies of this Agreement, together with any amendments thereto and executed
copies of any written powers of attorney pursuant to which this Agreement and any
amendments thereto have been executed;

(f) Copies of the meeting minutes, resolutions and written consents of the
Manager, Members and any committees established.

13.3 Separateness/Operations Matters. The Company shall:

(a) maintain books and records and bank accounts separate from those of any other person,

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(b) maintain its assets in such a manner that it is not costly or difficult to segregate, identify or
ascertain such assets,

(c) hold itself out to creditors and the public as a legal entity separate and distinct from any
other entity:

(d) prepare separate tax returns, if necessary, and separate financial statements; and

(e) not commingle its assets or funds with those of any other person.

ARTICLE 14
WINDING UP, LIQUIDATION, DISTRIBUTION OF ASSETS

14.1 Accounting in Connection with Dissolution.

(a) Upon dissolution, an accounting shall be made by the Company’s accountants of the
accounts of the Company and of the Company’s assets, liabilities and operations. Manager, or the
Persons selected by the Members (the “Liquidators”), shall immediately proceed to wind up the
affairs of the Company.

(b) If the Company is dissolved and its affairs are to be wound up, the Liquidators shall:

(i) Sell or otherwise liquidate all of the Company’s assets as promptly as practicable
(except to the extent the Liquidators may determine to distribute any assets to the
Members in kind);

(ii) Allocate any profit or loss resulting from such sales to the Members in
accordance with Article 8 hereof;

(iii) | Discharge all liabilities of the Company, including liabilities to Members who
are creditors, to the extent otherwise permitted by law, other than liabilities to
Members for distributions, and establish such Reserves as may be reasonably
necessary to provide for contingencies or liabilities of the Company;

(iv) Distribute the remaining assets to the Members, either in cash or in kind, in
accordance with the positive balance (if any) in each Member’s Capital Account
(as determined after taking into account all Capital Account adjustments for the
Company’s Fiscal Year during which the liquidation occurs); and

(v) If any assets of the Company are to be distributed in kind, the net fair market
value of such assets shall be determined by independent appraisal. Such assets
shall be deemed to have been sold as of the date of dissolution for their fair
market value, and the Capital Accounts of the Members shall be adjusted
pursuant to the provisions of this Agreement to reflect such deemed sale.

(c) Notwithstanding anything to the contrary in this Agreement, upon a liquidation within
the meaning of Treasury Regulation Section 1.704-1(b)(2)(ii)(g), if any Member has a deficit Capital
Account (after giving effect to all contributions, distributions, allocations and other Capital Account
adjustments for all taxable years, including the year during which such liquidation occurs), such
Member shall have no obligation to make any Capital Contribution to reduce or eliminate the
negative balance of such Member’s Capital Account.

(d) Upon completion of the winding-up, liquidation and distribution of the assets, the
Company shall be deemed terminated.

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14.2 Articles of Dissolution. When all debts, liabilities and obligations have been paid and
discharged or adequate provisions have been made therefor and all of the remaining property and
assets have been distributed to the Members, the Liquidators shall file Articles of Dissolution with
the Florida Department of State in accordance with the Florida Act.

14.3. Return of Contribution Nonrecourse to Other Members. Upon dissolution, each Member
shall look solely to the assets of the Company for the return of the Member’s Capital Account. If the
Company property remaining after the payment or discharge of the debts and liabilities of the
Company is insufficient to return the Capital Account of one or more Members, including, without
limitation, all or any part of that Capital Account attributable to Capital Contributions, then such
Member or Members shall have no recourse against any other Member.

ARTICLE 15
MISCELLANEOUS PROVISIONS

15.1 Application of Florida Law. This Agreement, and the application or interpretation hereof,
shall be governed exclusively by its terms and by the Florida Act. EACH PARTY TO THIS
AGREEMENT HEREBY IRREVOCABLY: (1) AGREES THAT ANY SUIT, ACTION, OR OTHER
LEGAL PROCEEDING ARISING OUT OF THIS AGREEMENT OR OUT OF ANY OF THE
TRANSACTIONS CONTEMPLATED HEREBY, SHALL EXCLUSIVELY BE BROUGHT IN ANY
STATE OR FEDERAL COURT LOCATED IN PALM BEAC COUNTY, FLORIDA, (2) CONSENTS
TO THE JURISDICTION OF EACH SUCH COURT IN ANY SUCH SUIT, ACTION, OR LEGAL
PROCEEDING, (3) WAIVES ANY OBJECTION WHICH HE, SHE OR IT MAY HAVE TO THE
LAYING OF VENUE OF ANY SUCH SUIT, ACTION, OR LEGAL PROCEEDING IN ANY OF
SUCH COURTS, (4) AGREES THAT FLORIDA IS THE MOST CONVENIENT FORUM FOR
LITIGATION OF ANY SUCH SUIT, ACTION, OR LEGAL PROCEEDING, AND (5) AGREES
THAT A SUMMONS AND COMPLAINT COMMENCING AN ACTION OR PROCEEDING IN
ANY SUCH COURTS SHALL BE PROPERLY SERVED AND SHALL CONFER PERSONAL
JURISDICTION IF SERVED PERSONALLY OR BY CERTIFIED MAIL TO SUCH PARTY OR AS
OTHERWISE PROVIDED UNDER T! IE LAWS OF THE STATE OF FLORIDA.

15.2. No Action for Partition. No Member has any right to maintain any action for partition with
respect to the property of the Company.

15.3. Execution of Additional Instruments. Each Member hereby agrees to execute such other
and further statements of interest and holdings, designations, powers of attorney and other
instruments necessary to comply with any laws, rules or regulations.

15.4 Headings, Exhibits and Interpretation. The headings in this Agreement are inserted for
convenience only and are in no way intended to describe, interpret, define, or limit the scope, extent
or intent of this Agreement or any provision hereof. All exhibits and schedules referred to in this
Agreement and attached hereto are incorporated herein by this reference. The words “herein,”
“hereof? and “hereunder” and other words of similar import refer to this Agreement as a whole,
including the Exhibits and Schedules hereto, as the same may from time to time be amended,
modified or supplemented, and not to any particular section, subsection or clause contained in this
Agreement. Wherever from the context it appears appropriate, each term stated in either the singular
or plural shall include the singular and the plural, and pronouns stated in the masculine, feminine or
neuter gender shall include the masculine, the feminine and the neuter.

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15.5 Waivers. The failure of any party to seek redress for violation of or to insist upon the strict
performance of any covenant or condition of this Agreement shall not prevent a subsequent act,
which would have originally constituted a violation, from having the effect of an original violation.

15.6 Rights and Remedies Cumulative. The rights and remedies provided by this Agreement are
cumulative and the use of any one right or remedy by any party shall not preclude or waive the right
to use any or all other remedies. Such rights and remedies are given in addition to any other rights
the parties may have by law, statute, ordinance, or otherwise. The parties hereto agree and
acknowledge that money damages may not be an adequate remedy for any breach of the provisions of
this Agreement and that any party may in its sole discretion apply to any court of law or equity of
competent jurisdiction for (and receive) specific performance and/or injunctive relief in order to
enforce or prevent any violations of the provisions of this Agreement.

15.7 Title to Property. Assets of the Company shall be owned by the Company as an Entity, and no
Member shall have any ownership interest in the Company’s assets in that Member's individual name
or right. Each Member's Interest shall be personal property for all purposes. The Company shall hold
the Company’s assets in the name of the Company and not in the name of any Member.

15.8 Heirs, Successors and Assigns. The terms of this Agreement shall be binding upon and inure
to the benefit of the parties hereto and, to the extent permitted by this Agreement, their respective
heirs, legal representatives, successors and assigns.

15.9 Creditors. None of the provisions of this Agreement shall be for the benefit of or enforceable
by any creditors of the Company or by any Person not a party hereto.

15.10 Counterparts. This Agreement may be executed in counterparts, each of which shall be
deemed an original but all of which shall constitute one and the same instrument.

15.11 Notices. All notices, requests, demands, claims and other communications hereunder shall be
in writing and shall be deemed to have been delivered and received (a) when personally delivered, or
(b) on the third (3rd) business day after which sent by registered or certified mail, postage prepaid,
return receipt requested, (c) on the next business day after the business day on which deposited with a
regulated public carrier (e.g., Federal Express) for overnight delivery, freight prepaid, addressed as
follows, or at such other address, notice of which is given in a manner permitted by this Section
15.11: (a) if to the Company, at the principal office of the Company; (b) if to any Member, at the
address set forth on Exhibit A, or such other address as provided to the Company in writing.

15.12 Mediation. In the event of any dispute or claim arising out of or relating to the interpretation
of this Agreement, or breach hereof (a “Claim”), each Member shall in good faith first negotiate a
written resolution of such Claim within a period not to exceed fifteen (15) days from the date of
delivery of a request by a Member to Manager for such negotiation. Such negotiations shall be
conducted by representatives of the parties who have authorization to resolve any such Claim. In the
event that the Members cannot negotiate a written resolution to such Claim during this 15-day
negotiation period, and still prior to filing any claims in a court of law or to seeking binding
arbitration, Manager shall then submit such Claim to non-binding mediation. The mediation may be
initiated by the written request of any Member to Manager, shall commence within fifteen (15) days
of the receipt of such notice and shall be conducted in Fort Lauderdale, Florida, in accordance with
such mediation procedures established by the mediator, unless otherwise agreed to by each Member.
The Members will attempt to each agree upon the selection of a mediator. The mediation shall not

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exceed a period of thirty (30) days. Each Member shall bear his, her or its own expenses in
connection with such mediation, except as otherwise agreed to by the Members or as awarded by a
court after mediation in accordance with Section 15.19. In the event that the Members do not resolve
such Claim as a result of such mediation or in the event that such Claim is not resolved within ninety
(90) days of the commencement of the mediation, any Member may seek to resolve the Claim in a
court of competent jurisdiction or seek other legal or equitable resolution. The judgment or decree of
a court of competent jurisdiction shall be deemed final when the time for appeal, if any, shall have
expired and no appeal shall have been taken or when all appeals taken shall have been finally
determined. Notwithstanding the foregoing, any Member may at any time apply to any court of
competent jurisdiction for injunctive relief in the event of an alleged breach of this Agreement or
otherwise to prevent irreparable harm.

15.13 Amendments. Except as expressly provided herein, any amendment to this Agreement must
be made in writing and approved by Members holding a Majority Interest.

15.14 Conflicts with the Florida Act. If any particular provision herein is construed to be in
conflict with the provisions of the Florida Act, the provisions of this Agreement shall control to the
fullest extent permitted by applicable law. Any provision found to be invalid or unenforceable shall
not affect or invalidate the other provisions hereof, and this Agreement shall be construed in all
respects as if such conflicting provision were omitted.

15.15 No Partnership Intended for Non-Tax Purposes. The Members have formed the Company
under the Florida Act, and expressly disavow any intention to form a partnership under the
partnership act or laws of any state. The Members do not intend to be partners one to another or
partners as to any third party. To the extent any Member, by word or action, represents to another
person that any other Member is a partner or that the Company ts a partnership, the Member making
such wrongful representation shall be liable to any other Member who incurs personal liability by
reason of such wrongful representation.

15.16 Time. Time is of the essence of this Agreement, and to any payments, allocations and
distributions provided for under this Agreement.

15.17 Entire Agreement. This Agreement (including all Exhibits and Schedules) and the
agreements, certificates and other documents delivered pursuant to this Agreement contain the entire
agreement among the parties with respect to the matters described herein, and supersede all prior
agreements, written or oral, with respect thereto.

15.18 Separate Counsel. EACH MEMBER ACKNOWLEDGES THAT HE, SHE OR IT HAS HAD
AN OPPORTUNITY TO CONSULT WITH HIS OWN COUNSEL WITH REGARD TO THE
MATTERS CONTAINED IN. THIS AGREEMENT. EACH MEMBER FURTHER
ACKNOWLEDGES THAT COUNSEL TO THE COMPANY REPRESENTS NO OTHER MEMBER
OR PERSON, WITH RESPECT TO THE DRAFTING, NEGOTIATION AND EXECUTION OF THIS
AGREEMENT.

15.19 Attorney’s Fees. In the event of any suit or action to enforce or interpret any provision of this
Agreement (or that is based on this Agreement), the prevailing party is entitled to recover, in addition
to other costs, reasonable attorney’s fees in connection with the suit, action, arbitration, and any
appeals. The determination of who is the prevailing party and the amount of reasonable attorney's

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fees to be paid to the prevailing party will be decided by the court, including any appellate court, in

the court in which the matter is heard, tried or decided.

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IN WITNESS WHEREOF, this Agreement is effective on the Effective Date first above written.

MEMBERS:

 

By:

 

MANAGER:
Gregory SS _—

 
 

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EXHIBIT A
MEMBERS

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g
8901 Lee Vista Boulevard,
Suite 3003
Orlando, Florida 32829

100

100%

 

 

 

Total:

100

 

100%

 

* Does not include Preferred Contribution Amounts

MANAGERS

Gregory Soufleris
8901 Lee Vista Boulevard, Suite 3003

Orlando, Florida 32829

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EXHIBIT B
DEFINITIONS

“Agreement.” ‘This Operating Agreement, together with all Exhibits and Schedules, as the
same may be amended or supplemented from time to time.

“Articles of Organization.” ‘The Articles of Organization of the Company, as filed with the
Florida Department of State, as the same may be amended from time to time.

“Available Cash.” The Company’s cash funds of any kind derived directly or indirectly
from or in connection with its operations, refinancing or other sources (including, without limitation,
any proceeds from business interruption insurance) plus any reduction in Reserves taken into account
pursuant to this definition, minus payments directly or indirectly of costs and expenses of any kind
related to or arising out of the Company’s operations (including payment of property, plant and
equipment lease obligations; and other debt service payments), and amounts added to Reserves for
tax distributions, business expansion, capital replacement, required by loan agreements or other
contractual arrangements to which the Company is party or necessary to satisfy contingencies
reasonably anticipated for, or associated with, the Business of the Company, all as reasonably

determined by Manager.
“Business of the Company.” As defined in Article 2.

“Capital Account.” A capital account maintained with respect to each Member in
accordance with this Agreement.

“Capital Contribution.” Any contribution to the capital of the Company in cash or property
by a Member whenever made.

“Cause.” With respect to grounds for removal of a Manager, shall mean the following:

(a) committing an act of fraud, gross negligence or material misrepresentation against the
Company;

(b) the appropriation (or attempted appropriation) of a material business opportunity of
the Company; or

(c) committing any act or engaging in any conduct that materially harms the Business of

the Company or reputation of the Company.

“Code.” The Internal Revenue Code of 1986, as amended from time to time.
The “Company.” Absolute Medical Systems, LLC, a Florida limited liability company.

“Disability.” With respect to a Member or Manager, an entry by a court of competent
jurisdiction adjudicating such Member incompetent to manage his or her person or his or her
property.

“Economic Interest” means a Member’s or Economic Interest Owner’s share of the
Company’s Net Profits, Net Losses, and distributions of the Company’s assets pursuant to this
Agreement and the Florida Act, but shall not include any other rights of a Member, including,
without limitation, the right to vote or participate in the management of Company.

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“Economic Interest Owner.” The owner of an Economic Interest who is not a Member and
enjoys no voting rights.

“Entity.” Any general partnership, limited partnership, limited liability company,
corporation, joint venture, trust, business trust, cooperative or association or any foreign trust or
foreign business organization.

“Fiscal Year.” The Company’s fiscal year, which shall be the calendar year.

“Florida Act.” The Florida Revised Limited Liability Company Act, Title XXXVI, Chapter
605, as amended from time to time.

“Interest.” Any interest in the Company, including a Membership Interest, any right to vote
or participate in the business of the Company, or any other interest in the Company.

“Majority Interest.” Ownership Percentages (as defined below) of Members which, taken
together, constitute more than fifty percent (50%) of all Ownership Percentages held by all Members
entitled to vote on or consent to the issue in question.

“Manager” or “Managers” shall mean one or more Members selected by the Members to
serve as the manager of the Company in accordance with this Agreement.

“Member” or “Members” shall mean those persons or entities who have an Ownership
Interest (as defined below) in the Company, who executes this Agreement or a counterpart thereof as
a Member, and each of the Persons who may hereafter become Members as provided in this
Agreement.

“Membership Interest” and “Ownership Interest.” A Member’s entire interest in the
Company and the right to participate in the management of the business and affairs of the Company,
including the right to vote on, consent to, or otherwise participate in any decision or action of or by
the Members granted pursuant to this Agreement.

“Net Profits” and “Net Losses.” The Company’s taxable income or loss determined in
accordance with Code Section 703(a) for each of its Fiscal Years.

“Ownership Percentage.” For each Member, the percentage determined at any given time
by dividing the aggregate number of Units owned by such Member as of such time by the aggregate
number of Units owned by all Members as of such time. The Ownership Percentage of each Member
shall be set forth on Exhibit A hereto.

“Person.” Any individual or Entity, and the heirs, executors, administrators, legal
representatives, Successors, and assigns of such Person where the context so permits.

“Reserves.” Funds set aside and amounts allocated to reserves in amounts determined by the
Board for working capital and to pay taxes, insurance, debt service, capital improvements and other
costs and expenses incident to the ownership or operation of the Company’s business.

“Super Majority Interest.” Ownership Percentages of Members which, taken together,
constitute more than seventy-five percent (75%) of all Ownership Percentages held by all Members
entitled to vote on or consent to the issue in question.

“Treasury Regulations” or “Regulations.” The federal income tax regulations, including
temporary regulations, promulgated under the Code, as such regulations may be amended from time
to time (including corresponding provisions of succeeding regulations).

“Units.” The standard measurement used to determine each Member’s Membership Interest.
The number of Units held by each member shall be set forth on Exhibit A hereto.

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